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13                         UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
                                   EASTERN DIVISION
15
16   N.A.M.E.,                                ) No. 5:18-cv-01358-E
                                              )
17                                            )
           Plaintiff,                         ) [PROPOSED]
18                                            ) JUDGMENT
                  v.                          )
19                                            )
     KILOLO KIJAKAZI,1                        )
20   Acting Commissioner of Social            )
                                              )
21   Security,                                )
                                              )
22                                            )
           Defendant.                         )
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      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
     Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
     suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1          The Court having approved the parties’ stipulation to reopen this case for
 2   the purpose of entering judgment for Plaintiff, hereby grants judgment for
 3   Plaintiff.
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 5
     DATED:                              6 &+$5/(6 ) (,&.
 6                                          HON. CHARLES F. EICK
 7                                          UNITED STATES MAGISTRATE JUDGE
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